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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                             BUTTE DIVISION

 UNITED STATES OF AMERICA,                             CR 20–08–BU–DLC

                      Plaintiff,

 vs.                                                         ORDER

 RHONDA LEE MUELLER,

                       Defendants.

       United States Magistrate Judge Kathleen L. DeSoto entered Findings and

Recommendations in this matter on August 13, 2020. (Doc. 23.) Neither party

objects, and so the Court will review for clear error. United States v. Reyna-Tapia,

328 F.3d 1114, 1121 (9th Cir. 2003); Thomas v. Arn, 474 U.S. 140, 149 (1985).

Clear error exists if the Court is left with a “definite and firm conviction that a

mistake has been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir.

2000) (citations omitted).

       Judge DeSoto recommended this Court accept Rhonda Lee Mueller’s guilty

plea after Mueller appeared before her pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to one count of possession with intent to

distribute Fentanyl in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2, as set

forth in the Indictment.
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      The Court finds no clear error in Judge DeSoto’s Findings and

Recommendation, and adopts them in full, including the recommendation to defer

acceptance of the Plea Agreement until sentencing when the Court will have

reviewed the Plea Agreement and Presentence Investigation Report. Accordingly,

      IT IS ORDERED that the Findings and Recommendations is ADOPTED in

full. Mueller’s motion to change plea (Doc. 15) is GRANTED and Mueller is

adjudged guilty as charged in Count I of the Indictment.

      DATED this 28th day of August, 2020.
